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                                                                       United States Bankruptcy Court
                                                                           Southern District of Texas

                                                                              ENTERED
                                                                              June 20, 2024
              IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE SOUTHERN DISTRICT OF TEXAS                         Nathan Ochsner, Clerk

                         HOUSTON DIVISION

IN RE:                                    §
                                          §      CASE NO: 24-90052
ROBERTSHAW US                             §
HOLDING CORP., et al.,                    §      CHAPTER 11
                                          §
         Debtors.                         §
                                          §
ROBERTSHAW US                             §
HOLDING CORP., et al.,                    §
                                          §
                                          §
v.                                        §      ADVERSARY NO. 24-03024
                                          §
INVESCO SENIOR SECURED                    §
MANAGEMENT INC., et al.,                  §
                                          §
                                          §

                    MEMORANDUM DECISION AND ORDER
       This case is about a dispute involving liability management transactions
between the Debtor, its equity sponsor, and some of its secured creditors. It is also
about the desire of some lenders to obtain majority status under a credit agreement
and then aggressively exercise related rights. Some lenders believe majority status
gives them unfettered power to control when a debtor starts a bankruptcy case and
what will happen during that case. This Court does not know whether this case is in
or out of step with the norm. Parties engage in liability management transactions to
try and unlock value in credit agreements. Lenders are sometimes plaintiffs in one
case and defendants in another. This decision is limited to the unique facts of this
case.
        In late 2022, Robertshaw experienced financial difficulty, so it engaged in
liability management transactions with Invesco Senior Secured Management, Inc.
and certain related funds (“Invesco”) and the “Lender Plaintiffs” in this case:
Bain Capital Credit, LP on behalf of certain of its managed funds (“Bain Capital”),
Canyon Capital Advisors LLC on behalf of certain of its managed funds (“Canyon
Capital”), and Eaton Vance Management on behalf of certain of its managed funds
(“Eaton Vance”).
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       Robertshaw faced another liquidity challenge later that year. What followed
is a series of events ending in a bitter dispute between lenders.
       In the fall of 2023, Invesco became the “Required Lender” under a
superpriority credit agreement and aggressively exercised its rights. It had
Robertshaw enter into four amendments to the agreement without informing the
other lenders. Even the administrative agent was directed to stay silent. Invesco
waived Robertshaw payment defaults and extended runways in exchange for
additional liquidity and more benefits. The last amendment included milestones:
Robertshaw had to file bankruptcy by January 2, 2024, agree on who would be the
stalking horse in a chapter 11 case, and appoint an “independent director”—who
had sole authority to work on Invesco’s milestones.
       But the Lender Plaintiffs found out by chance about the amendments and
quickly organized. Lawyers and advisors for Robertshaw and the Lender Plaintiffs
formulated their own liability management transactions late in December 2023
(“December Transactions”). One Rock Capital Partners, LLC on behalf of certain
of its managed funds (“One Rock”), the equity sponsor, participated in the
December Transactions. The December Transactions paid Invesco over $90 million
and had the effect of shifting Required Lender status from Invesco to the Lender
Plaintiffs.
       Invesco sued the Lender Plaintiffs and One Rock in New York State Court in
December 2023. It believes that the December Transactions are a sham and that
Invesco remains the Required Lender and the primary secured creditor in control.
Robertshaw started these chapter 11 cases in February 2024. On the same day,
Robertshaw, One Rock, and the Lender Plaintiffs started this Adversary against
Invesco.1
       This Court held a six-day trial. For the reasons stated below, the Court finds
that Robertshaw breached the credit agreement. The Lender Plaintiffs are entitled
to a declaration that they did not breach the credit agreement and are the Required
Lenders. One Rock is entitled to a declaration that it did not tortiously interfere
with the credit agreement under New York law. Finally, Robertshaw, the Lender
Plaintiffs, and One Rock are entitled to a declaration that they did not breach the
implied covenant of good faith and fair dealing under New York law.
      New York law gives Invesco the right to assert money damages against
Robertshaw for the prepetition breach of contract. Rescission of an amendment
entered during the December Transactions is not required under New York law or
warranted on this record. And this Court declines to exercise any equitable
remedies.


1 A complete list of the Invesco defendants is found in the Complaint at ECF No. 1.


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                                       BACKGROUND2
       In 2018, an affiliate of One Rock acquired Robertshaw from its prior sponsor.3
The purchase was financed with $510 million in first-lien term loans under a First-
Lien Credit Agreement, $110 million in second-lien term loans under a Second-Lien
Credit Agreement (together, the “Original Credit Agreements”), and about $260
million of equity.4 To finance operations, Robertshaw entered a separate asset-
based revolving facility maturing in December 2023 (“ABL Facility”).5
I.     The May 2023 Uptier Transaction
       In May 2023, Robertshaw negotiated a liability management transaction
with the Lender Plaintiffs and Invesco under the Original Credit Agreements.6
Invesco and the Lender Plaintiffs formed an ad hoc group to reach Required Lender
status. The lenders proposed a transaction through which the parties would amend
the Original Credit Agreements to (i) execute a new Super-Priority Credit
Agreement (“SPCA”), (ii) provide $95 million of new First-Out New Money Term
Loans, and (iii) allow participating lenders to exchange their existing first- and
second-lien loans under the Original Credit Agreements for Second-Out and Third-
Out Term Loans under the SPCA (“May Transactions”).7 This type of liability
management transaction is often called an uptier. It was realized through a series
of transactions in a short time span, the steps of which were laid out in advance.8
The SPCA is governed by New York law.9
       The SPCA adopted much of the same (or similar) language as the Original
Credit Agreements, while making some changes thought prudent by the
participating lenders at the time to try to protect their position.10 This included
adding blockers to protect against some future lender-on-lender type actions, but
not all.11 Matthew Brooks from Invesco testified that they “limited the ability to do
another uptier” but outright “eliminated the ability to do any sort of dropdown
transactions.”12 The SPCA did not materially change the definition of “Required
Lender.” Required Lender status, as the parties understood it, was designed to be

2 Trial transcripts are referenced throughout this decision as Tr.2 (ECF No. 325), Tr.3 (ECF No. 340),

Tr.4 (ECF No. 336), Tr.5 (ECF No. 339), and Tr.6 (ECF No. 346). Some of the conclusions listed here
are factual determinations, and others are legal conclusions. Factual and legal conclusions shall be
treated as such, regardless of how they are labeled.
3 Tr.3 10:2–11.
4 Tr.3 10:2–11.
5 ABL Credit Agreement, Joint Exhibit 11, ECF No. 250-11.
6 Tr.4 65:4–22, 407:2–14.
7 Super-Priority Credit Agreement at Recitals, Joint Exhibit 1, ECF No. 250-1.
8 Tr.4 306:3–307:18.
9 Super-Priority Credit Agreement, § 9.10 Joint Exhibit 1, ECF No. 250-1.
10 Tr.4 256:13–258:21, 409:22–410:15.
11 Tr.4 409:22–410:15.
12 Tr.4 409:22–410:15.


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fungible—the status may fluctuate from time to time as debt is bought or traded or
ad hoc groups form and dissemble.13 The dispositive authority on which party or
group holds enough debt to be Required Lender is a register maintained by an
Administrative Agent.14
       The SPCA defines “Required Lender” to mean “[l]enders having Loans
representing more than 50.0% of the sum of the total First-Out New Money Term
Loans and Second-Out Term Loans at such time.”15 Section 9.02 of the SPCA allows
Required Lenders to amend the SPCA, subject to enumerated exceptions (commonly
referred to as “sacred rights”).16 Required Lender status gives lenders the right to,
among other things, (i) agree with Robertshaw, as “Borrower,” to incur additional
“Indebtedness,” including, but not limited to, the issuance of more term loans under
the SPCA, (ii) consent to or waive any breaches, defaults, or “Events of Default,”
and (iii) direct the Administrative Agent to pursue remedies in the event of a
breach, default, or Event of Default.17
       Around July 2023, Invesco acquired more than 50% of the total First-Out and
Second-Out Term Loans and obtained Required Lender status.18 The Lender
Plaintiffs did not know about this change.19 Invesco met the Required Lender
criteria because it owned a majority of the First-Out Term Loans but not the
Second-Out Loans.20 So the status was arguably fragile. Another lender (or group of
lenders) could buy up more Second-Out Term Loans and Robertshaw could pay
down some of the First-Out Term Loans. In that case, Invesco would cease to be a
Required Lender.
II.    Invesco-led Amendment Nos. 1-4
       Robertshaw faced another liquidity crunch in the fall of 2023, despite its
efforts to implement a turnaround plan supported by its advisors and One Rock.21 A
key component of this plan involved improving its customer relationships and
contracts.22 To address its liquidity issues and continue forward, it was close to
entering into a certain “Brigade Deal,” which would have refinanced the ABL




13 Tr.4 256:13–260:15.
14 Super-Priority Credit Agreement, § 9.05(b)(iv), Joint Exhibit 1, ECF No. 250-1; Tr.4 25:22–25.
15 Super-Priority Credit Agreement, § 1.01 “Required Lender”, Joint Exhibit 1, ECF No. 250-1.
16 Super-Priority Credit Agreement, § 9.02(b)(A), Joint Exhibit 1, ECF No. 250-1.
17 Super-Priority Credit Agreement, § 9.02, Joint Exhibit 1, ECF No. 250-1.
18 Tr.4 321:6–10.
19 Tr.4 167:5–23, 322:1–23.
20 Tr.4 15:19–16:3, 322:1–23; Plaintiff Exhibit 78 at 2786, ECF No. 243-29.
21 Tr.3 32:22–34:23.
22 Tr.3 32:22–34:23.


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Facility set to mature in December 2023 and provided a cash infusion to
Robertshaw to make interest payments due under the SPCA.23
       Invesco found it troubling that, though it was the Required Lender,
Robertshaw sought financing from an outside source Invesco believed to be a
historically “difficult counterparty.”24 Invesco reached out through joint counsel to
the ad hoc group that participated in the May Transactions to inform Robertshaw
that it would not support the Brigade Deal.25 Invesco also believed the ad hoc group
of lenders disbanded once the SPCA was effective.26 So it did not inform the other
lenders that it had retained separate counsel to start working on amendments to
the SPCA because Robertshaw had missed an interest payment, and the grace
period was almost up.27
       Invesco and Robertshaw entered into Amendment No. 1 on October 5, 2023.28
It extended Robertshaw’s grace period to make the missed interest payment
(originally due at the end of September) to October 13.29 Without this amendment,
failure to make the payment by October 6, 2023 would have resulted in an Event of
Default.30
        At the same time, the parties discussed a proposal for Robertshaw to enter
into a new ABL facility. Invesco offered Robertshaw a bridge loan of $17 million in
the form of additional First-Out Term Loans in exchange for Robertshaw’s
agreement to negotiate two other financing transactions with Invesco, including
(i) a new $40 million “delayed draw term loan facility” conditioned upon
Robertshaw’s agreement to “repurchase” (i.e., uptier)31 “100% of the Invesco owned
Third-Out Term Loans at par” through “open market purchases” and (ii) a new
$73.4 million ABL facility under which Invesco would exchange its Third-Out Term
Loans for “New ABL Loans.”32 The Lender Plaintiffs were not informed about this
Amendment, the missed interest payment which necessitated the Amendment, or
the financing proposal.33



23 Tr.6 10:1–11:25, 12:6–19.
24 Tr.4 54:8–55:21, 335:7–336:13.
25 Tr.4 336:22–347:5.
26 Tr.4 68:6–69:22, 320:3–16.
27 Tr.4 74:22–75:4, 77:1–17, 164:24–165:7, 168:20–169:8.
28 Amendment No. 1 To Super-Priority Credit Agreement at Preamble, Plaintiff Exhibit 1, ECF No.

242-1.
29 Amendment No. 1 To Super-Priority Credit Agreement, §3, Plaintiff Exhibit 1, ECF No. 242-1.
30 Amendment No. 1 To Super-Priority Credit Agreement at Preamble, Plaintiff Exhibit 1, ECF No.

242-1.
31 Plaintiff Exhibit 323 at 3, ECF No. 248-35; Tr.4 283:9–284:21.
32 Plaintiff Exhibit 61, ECF No. 243-11.
33 Plaintiff Exhibit 64, ECF No. 243-14; Plaintiff Exhibit 62, ECF No. 243-12; Tr.4 348:16–351:21;

Tr.4 359:3–361:23.

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       Invesco and Robertshaw failed to negotiate the terms of Invesco’s financing
proposal. On October 13, 2023, Invesco and Robertshaw executed Amendment No.
2.34 Invesco agreed to provide Robertshaw the $17 million bridge loan in the form of
new incremental First-Out Term Loans to make the missed interest payment. Mr.
Brooks testified that Invesco understood the Required Lenders could amend Section
6.01 of the SPCA to allow for additional “Indebtedness”—which is permitted in
Amendment No. 2.35 To the extent, however, this new “Indebtedness” could breach
the terms of the SPCA, Invesco waived all potential defaults.36 Invesco also
committed to provide an additional $40 million term loan if certain conditions were
met, but it set a November 8 deadline for Robertshaw to refinance the ABL Facility.
It also included the potential for a new liability management transaction for
Invesco’s Third-Out Loans. The Lender Plaintiffs were not informed about this
Amendment.
        Robertshaw and Invesco failed to reach agreement on the terms of a new ABL
facility, and the December 2023 existing ABL Facility maturity loomed. So the
parties executed Amendment No. 3, which extended the November 8 deadline to
refinance the ABL Facility to November 10.37 The Lender Plaintiffs were not
informed about this Amendment.
      Invesco and Robertshaw then signed Amendment No. 4 in November 2023. In
exchange primarily for an extension of the time to declare an Event of Default
under the SPCA until December 13, Robertshaw would start a chapter 11
bankruptcy case by no later than January 2, 2024 and would:
                •     negotiate, in good faith, a DIP facility, an RSA, and
               a stalking horse purchase agreement with Invesco;38
                •     confirm that the board of its parent had directed
               their professionals to begin the above negotiations;39 and
                •     deliver to Invesco a wind-down budget following the
               close of the stalking-horse sale, a list of critical vendors to
               be paid by the DIP along with justifications for those
               payments, and a summary of Robertshaw’s executory




34 Tr.4 362:5–363:8.
35 Tr.4 268:5–22.
36 Amendment No. 2 To Super-Priority Credit Agreement, §7, Plaintiff Exhibit 2, ECF No. 242-2.
37 Amendment No. 3 To Super-Priority Credit Agreement, Plaintiff Exhibit 2, ECF No. 242-3.
38 Amendment No. 4 To Super-Priority Credit Agreement, §7(e), Plaintiff Exhibit 4, ECF No. 242-4.
39 Amendment No. 4 To Super-Priority Credit Agreement, §7(f)(i), Plaintiff Exhibit 4, ECF No. 242-4.


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               contracts along with recommendations regarding their
               treatment.40
      Amendment No. 4 also required Robertshaw to appoint an “Independent
Director” to the Board of Directors of Robertshaw’s parent company. It gave the
“Independent Director” sole authority to negotiate the terms of the bankruptcy
milestones laid out in the Amendment.41 Invesco selected Neal Goldman.42 The
Lender Plaintiffs were not informed about this Amendment.
       Invesco was aware of Robertshaw’s aversion to filing on January 2, which
would have interfered with its existing turnaround plan—particularly the customer
relations component.43 There were discussions of a non-bankruptcy path.44 Invesco
ultimately declined to a discuss out-of-court alternatives until Robertshaw signed
Amendment No. 4.45 But, taking his fiduciary duty as independent director
seriously, Mr. Goldman instructed Robertshaw’s advisors to look for alternative
solutions.46
       Invesco directed the Administrative Agent in writing not to post any of these
amendments.47 Based on conversations with Mr. Brooks, advisors for Robertshaw
believed posting the amendments would jeopardize negotiations around an out-of-
court deal with Invesco.48 Around November 15, the Lender Plaintiffs learned about
the amendments when a third party casually mentioned them to an employee at
Bain Capital.49 Counsel for the Lender Plaintiffs then reached out to the
Administrative Agent on November 16 demanding that the amendments be posted.
Amendment Nos. 1–4 were posted later that day.50




40 Amendment No. 4 To Super-Priority Credit Agreement, §7(f)(v), Plaintiff Exhibit 4, ECF No. 242-

4.
41 Amendment No. 4 To Super-Priority Credit Agreement, §7(f)(iv)(2), Plaintiff Exhibit 4, ECF No.

242-4.
42 Tr.2 10:11–12:12.
43 Tr.2 20:20–21:19; Tr.3 37:1–41:14.
44 Tr.3 37:1–41:14; Joint Exhibit 25, ECF No. 250-29; Plaintiff Exhibit 91, ECF No. 243-43.
45 Plaintiff Exhibit 91, ECF No. 243-43.
46 Tr.2 11:3–12, 14:2–15:17.
47 Tr.5 246:23–247:7; Deposition Testimony of Administrative Agent (Jennifer Anderson), ECF No.

312-1 at 4.
48 Tr.6 63:6–24.
49 Tr.4 172:2–173:3, 378:20–379:25.
50 Plaintiff Exhibit 94, ECF No. 243-46.


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III.   The December Transactions and Amendment No. 5
       After discovering the Invesco-led Amendments and looming bankruptcy, the
Lender Plaintiffs started working with Robertshaw and One Rock on alternative
financing solutions and ultimately submitted a proposal.51 The board’s advisors
presented an analysis of the relative benefits of the December Transactions
compared to filing for bankruptcy on January 2. The record is undisputed that the
company needed additional liquidity. Based on that analysis, the board, including
Mr. Goldman, voted to approve the transactions.52 The December Transactions
consisted of six sequential steps:
               First, Range Parent’s (“Holdings”)53 parent, Range
               Investor LLC, formed RS Funding Holdings, LLC (“RS
               Funding”).54 Holdings is Robertshaw’s parent. Range
               Investor holds 100% of the voting interest in RS Funding.55
               Robertshaw holds 100% of the economic interest in RS
               Funding.56
               Second, on December 11, the Lender Plaintiffs and One
               Rock loaned $228.3 million to RS Funding (“RS Funding
               Credit Agreement”).57
               Third, exercising its power as 100% voting interest owner,
               Holdings instructed RS Funding to distribute the proceeds
               of the $228.3 million loan to Robertshaw.58
               Fourth, Robertshaw used the funds from RS Funding to
               (i) pay off the outstanding $30 million ABL Facility in full,
               (ii) voluntarily prepay $117.6 million of the outstanding
               First-Out Term Loans, and (iii) pay an additional $30.7
               million in required make-whole payments to the holders of
               First-Out Term Loans.59 The prepayment was made to the
               Administrative Agent, who, in turn, disbursed the funds to
               the appropriate First-Out Term Loan Lenders and
               recorded the prepayment in the register.60 After the

51 Plaintiff Exhibit 148, ECF No. 244-51.
52 Tr.2 15:25–20:14, 166:8–23; Plaintiff Exhibit 247, ECF No. 246-47.
53 Super-Priority Credit Agreement at Preamble, Joint Exhibit 1, ECF No. 250-1.
54 Plaintiff Exhibit 148 at 7, ECF No. 244-51.
55 Plaintiff Exhibit 148 at 7, ECF No. 244-51.
56 Plaintiff Exhibit 148 at 7, ECF No. 244-51.
57 Plaintiff Exhibit 148 at 5, ECF No. 244-51.
58 Plaintiff Exhibit 148 at 7, ECF No. 244-51.
59 Plaintiff Exhibit 148 at 7, ECF No. 244-51.
60 Tr.4 315:17–317:1.


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               prepayment,     the   register    maintained    by    the
               Administrative Agent reflected that the Invesco no longer
               owned more than 50% of the combined First- and Second-
               Out Term Loans needed to maintain Required Lender
               status.61 The Lender Plaintiffs now held Required Lender
               status.62
               Fifth, the Lender Plaintiffs, as Required Lenders, executed
               Amendment No. 5 to the SPCA.63 This Amendment
               authorized Robertshaw to issue $228 million in
               incremental debt.64
               Sixth, once the conditions precedent to Amendment No. 5
               were either met or waived, Robertshaw issued $218 million
               in new First-Out and Second-Out Loans.65 Robertshaw
               returned an equivalent amount to RS Funding, which
               repaid the loan under the RS Funding Credit Agreement.66
       Invesco received over $90 million. It tried to reject the prepayment (and now
holds the funds in protest in escrow).67 But the Administrative Agent, tasked with
disbursing funds in accordance with the register, disbursed the funds to Invesco.68
Invesco sent notice of an Event of Default under the SPCA to Robertshaw based on
this allegation on December 11, 2023.69
       Invesco challenges the prepayment as violating the SPCA because not all the
proceeds were used to pay off existing indebtedness, and they were not distributed
pro rata among all tranches of debt. Instead, a portion of the RS Funding cash
distribution was added to Robertshaw’s balance sheet, and some was used to pay off
the ABL Facility. Only the First-Out Term Loans received a prepayment. This
allegedly violated Sections 2.11(b)(iii) and (vi) of the SPCA. Invesco believes, had
the funds been distributed pro rata across all tranches, it would not have lost
Required Lender status.




61 Plaintiff Exhibit 16, ECF No. 242-20.
62 Plaintiff Exhibit 16, ECF No. 242-20.
63 Plaintiff Exhibit 148 at 7, ECF No. 244-51.
64 Amendment No. 5 To Super-Priority Credit Agreement, Plaintiff Exhibit 5, ECF No. 242-5.
65 Plaintiff Exhibit 148 at 7, ECF No. 244-51.
66 Plaintiff Exhibit 148 at 7, ECF No. 244-51.
67 Tr.4 315:17–317:1; Tr.5 15:16–21.
68 Tr.4 315:17–317:1.
69 Plaintiff Exhibit 348, ECF No. 248-67.


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       Invesco also argues the Administrative Agent resigned in protest of the
December Transactions.70 And that Amendment No. 5 contained conditions
precedent to its effectiveness. 71 These included several items related to the
Administrative Agent concerning receipt of compliance certifications, opinions of
counsel, and a funds flow memorandum.72 Invesco claims the Administrative Agent
did not receive the transaction documents until December 14, 2023, several days
after they were signed.73 So, according to Invesco, Agent consent was required but
never obtained.
IV.    Invesco Files Suit In New York State Court
        Less than two weeks after the execution of Amendment No. 5, Invesco filed a
complaint in the Supreme Court of the State of New York, asserting claims for
(i) breach of the SPCA against Robertshaw and the Lender Plaintiffs,
(ii) breach of the covenant of good faith and fair dealing against Robertshaw and the
Lender Plaintiffs, (iii) tortious interference with contract against One Rock, and
(iv) intentional and constructive fraudulent transfer against the Lender Plaintiffs
and One Rock. Invesco also sought a preliminary injunction “(i) enjoining any
transactions or arrangements purportedly requiring only the consent or direction of
the Lender Plaintiffs and/or One Rock, including but not limited to those in
Amendment No. 5, (ii) enjoining the execution of Amendment No. 5 by the
Administrative Agent, and (iii) reinstating of Amendment No. 4.”74
       The New York State Court did not rule on Invesco’s motion before the
petition date in these bankruptcy cases.
V.      Robertshaw Starts Bankruptcy Cases and This Adversary
      The Robertshaw debtors started these bankruptcy cases on February 15,
2024. Robertshaw, One Rock, and the Lender Plaintiffs started this Adversary on
the same day. Invesco filed two counterclaims seeking declaratory judgment against
Robertshaw that it breached the SPCA, and Invesco is still the Required Lender.75
       In April 2024, this Court entered an order staying the New York litigation
until July 15, 2024.




70 Invesco’s Answer, Affirmative Defenses, and Counterclaims at 16, ECF No. 45.
71 Amendment No. 5 To Super-Priority Credit Agreement, §7(e), (g), Plaintiff Exhibit 5, ECF No. 242-

5.
72 Amendment No. 5 To Super-Priority Credit Agreement, §7(e), (g), Plaintiff Exhibit 5, ECF No. 242-

5.
73 Invesco’s Answer, Affirmative Defenses, and Counterclaims at 32, ECF No. 45.
74 Plaintiff Exhibit 170, ECF No. 245-20.
75 Invesco’s Answer, Affirmative Defenses, and Counterclaims at 39, ECF No. 45.


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                          JURISDICTION AND VENUE
       The Court has jurisdiction under 28 U.S.C. § 1334(b). Venue is proper in this
District under 28 U.S.C. §§ 1408 and 1409. This is a core proceeding under 28
U.S.C. §§ 157(b)(2)(A), (K), and (O). The Court has constitutional authority to enter
final orders and judgments. Stern v. Marshall, 564 U.S. 462, 486–87 (2011).
       Resolving the matters before the Court are integral to the administration of
these cases and the determination and adjustment of the debtor/creditor
relationship. These chapter 11 cases are at a standstill and cannot proceed until
this Court declares who the current Required Lenders under the SPCA are or,
relatedly, if One Rock tortiously interfered with the SPCA. Required Lender status
determines who the fulcrum secured creditors are and how they will credit bid at a
Court approved auction for the sale of Robertshaw’s assets. Making this
determination also involves matters inextricable from Robertshaw’s chapter 11
plan.
      To the extent that the Court does not have the requisite constitutional
authority to enter a final judgment on any issue in this Adversary, then this
Memorandum Decision will constitute the Court’s report and recommendation to
the District Court.
                                     ANALYSIS
      Federal courts may declare the rights and other legal relations of a party
seeking declaration under 28 U.S.C. § 2201(a). New York law also permits courts to
“render a declaratory judgment having the effect of a final judgment as to the rights
and other legal relations of the parties to a justiciable controversy whether or not
further relief is or could be claimed.” N.Y. C.P.L.R. § 3001 (McKinney 2009).
       Robertshaw and the Lender Plaintiffs seek declaratory judgment that the
December 2023 Transactions did not breach the SPCA and that Amendment No. 5
is valid and enforceable. They also seek a declaration that they did not breach a
duty of good faith and fair dealing. One Rock also seeks a declaration that it did not
tortiously interfere with the SPCA. Invesco disagrees with the relief sought by
Robertshaw, the Lender Plaintiffs, and One Rock. So there are controversies here.
I.    A Subsidiary Incurred Indebtedness in Violation of
      Section 6.01 of the SPCA.
        Under New York law, there are four elements for a breach of contract claim:
(i) the existence of a contract, (ii) plaintiff’s performance under the contract,
(iii) the defendant’s breach of contractual obligations, and (iv) damages caused by
the defendant’s breach. See 34–06 73, LLC v. Seneca Ins., 39 N.Y.3d 44, 52 (N.Y.
2022). Only the last two elements are disputed.


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       In New York, “[t]he fundamental, neutral precept of contract interpretation is
that agreements are construed in accord with the parties’ intent” and “[t]he best
evidence of what parties to a written agreement intend is what they say in their
writing.” Greenfield v. Philles Records, 98 N.Y.2d 562, 569 (N.Y. 2002) (internal
quotation marks and citation omitted). Any “unambiguous provision” of a contract is
given its “plain and ordinary meaning.” Roberts v. Weight Watchers Int’l, Inc., 217 F.
Supp. 3d 742, 749 (S.D.N.Y. 2016), aff’d, 712 F. App’x 57 (2d Cir. 2017) (quoting
White v. Cont’l Cas. Co., 9 N.Y.3d 264, 267 (N.Y. 2007)) (internal quotations
omitted). Courts interpret contracts to give “full meaning and effect to the material
provisions” and avoid interpretations that render certain provisions meaningless.
AEA Middle Mkt. Debt Funding LLC v. Marblegate Asset Mgmt., LLC, 185 N.Y.S.3d
73, 84 (App. Div. 2023) (quoting Excess Ins. Co. v. Factory Mut. Ins., 3 N.Y.3d 577,
582 (N.Y. 2004)).
      Section 6.01 of the SPCA restricts the incurrence of Indebtedness: “Holdings,
the Borrowers and each Subsidiary shall not, directly or indirectly, create, incur,
assume or otherwise become or remain liable with respect to any Indebtedness”
subject to exceptions not relevant here.76 “Holdings” means Robertshaw’s parent,
Range Parent, Inc.77 Robertshaw is a “Borrower.”78 The parties dispute whether RS
Funding is a “Subsidiary.”
       The SPCA defines “Subsidiary” to mean one of two things:
       •   “with respect to any Person, any corporation, partnership, limited
           liability company, association, joint venture or other business entity
           of which more than 50.0% of the total voting power of shares of stock
           or other ownership interests entitled (without regard to the
           occurrence of any contingency) to vote in the election of the Person or
           Persons (whether directors, managers, trustees or other Persons
           performing similar functions) having the power to direct or cause the
           direction of the management and policies thereof is at the time owned
           or controlled, directly or indirectly, by that Person or one or more of
           the other subsidiaries of that Person of a combination thereof;
           provided that in determining the percentage of ownership interests
           of any Person controlled by another Person, no ownership interest in
           the nature of a ‘qualifying share’ of the former Person shall be
           deemed to be outstanding;” or




76 Super-Priority Credit Agreement, § 6.01, Joint Exhibit 1, ECF No. 250-1.
77 Super-Priority Credit Agreement at Preamble, Joint Exhibit 1, ECF No. 250-1.
78 Super-Priority Credit Agreement at Preamble, Joint Exhibit 1, ECF No. 250-1.


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        •   “any subsidiary        of   Holdings      other    than     an   Unrestricted
            Subsidiary.”79
      Robertshaw argues the capitalization of the first definition of “Subsidiary”
was a scrivener’s error. It alleges that in the Original Credit Agreements (before the
May Transactions), the first definition of subsidiary was not capitalized, and the
second definition was capitalized. So the first definition of Subsidiary should be
similarly read as if it were not capitalized.
       Under the Original Credit Agreements, a “Subsidiary” is defined as “any
subsidiary of Holdings . . . ” and “subsidiary” was a separately defined term focused
on entities for which Holdings held voting control (the first definition). In that
context, RS Funding would not be a “subsidiary” because Holdings and Robertshaw
do not own voting interests in it. If it could not be a “subsidiary,” it also could not be
a “Subsidiary” because the definition of the latter incorporated the former.
       But in the SPCA, that analysis changes because both definitions of
Subsidiary are capitalized. And “subsidiary” in the definition “any subsidiary of
Holdings” is not a defined term. An undefined term must be read according to its
plain, ordinary meaning. That renders the second definition of “Subsidiary” much
broader than it was in the Original Credit Agreements—no longer limited to certain
types of subsidiaries. Applying the plain meaning, RS Funding is a “subsidiary of
Holdings.”
       To establish a scrivener’s error, Robertshaw must show “obvious error by
clear and convincing evidence.” NCCMI, Inc. v. Bersin Props., LLC, 208 N.Y.S.3d
27, 32 (App. Div. 2024) (citing Warberg Opportunistic Trading Fund, L.P. v.
GeoResources, Inc., 973 N.Y.S.2d 187, 194 (App. Div. 2013)). Outside an actual
claim for reformation of contract, “a court may correct a scrivener’s error in ‘those
limited circumstances where some absurdity has been identified or the contract
would be otherwise unenforceable.’” Id. at 32 (quoting Matter of Wallace v. 600
Partners Co., 86 N.Y.2d 543, 547–48 (N.Y. 1995)); see also PNC Cap. Recovery v.
Mech. Parking Sys., Inc., 726 N.Y.S.2d 394, 397 (App. Div. 2001) (reforming a
scrivener’s error when the court found it would otherwise produce the illogical
result that a company could guaranty its own indebtedness). This imposes an
intentionally high bar on the party arguing there is an error. Id.
       Robertshaw’s counsel argued the capitalization was an overlooked typo never
intended by the parties. But according to Invesco’s witness, Mr. Brooks, the
definition of subsidiary was capitalized in the first draft of the SPCA.80 He relied on
this broader definition because it provided him more protection as a lender under


79 Super-Priority Credit Agreement, § 1.01 “Subsidiary”, Joint Exhibit 1, ECF No. 250-1.
80 Tr.5 24:5–8.


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the SPCA.81 Mr. Brooks “took it that the definition of subsidiary was as it was
presented in the definition section.”82 Based on the record, there is not sufficient
evidence of a scrivener’s error.
       Enforcing the SPCA on its own terms also does not lead to illogical or absurd
interpretations of the text. The Court must interpret the text to give each part
meaning and not render the decision to capitalize the first definition meaningless.
See AEA Middle Mkt. Debt Funding LLC, 185 N.Y.S.3d at 84. It is not absurd or
illogical to read the SPCA as expanding the second definition to include more
subsidiaries of Holdings. The SPCA was negotiated between sophisticated parties.
Without clear evidence to the contrary, the Court must enforce the SPCA as
written. RS Funding is a “Subsidiary” that incurred “Indebtedness” in violation of
Section 6.01.
II.    The Prepayment and Section 2.11(b) of the SPCA.
       The SPCA contemplates that a Subsidiary may incur Indebtedness that
violates Section 6.01, and that Robertshaw may receive proceeds on account of that
Indebtedness. It provides the remedy for that violation in Section 2.11.
      Section 2.11 of the SPCA governs prepayments.83 There are two relevant
pathways under this section: voluntary and mandatory prepayments. Under the
voluntary prepayment provision, Robertshaw has the right to “at any time and from
time to time to prepay any Class of Loans in whole or in part.”84 Robertshaw and
the Lender Plaintiffs believe Robertshaw made a voluntary prepayment, so a partial
payment was allowed. The Court disagrees because RS Funding is a “Subsidiary.”
And because Robertshaw received the proceeds of Indebtedness not allowed under
Section 6.01, the mandatory prepayment provision applies.
       Section 2.11(b)(iii) says:
               In the event that . . . any Subsidiaries . . . receive Net
               Proceeds from the issuance or incurrence of Indebtedness
               of . . . any Subsidiaries (other than with respect to
               Indebtedness permitted under Section 6.01), the Borrowers
               shall, substantially simultaneously with . . . the receipt of
               such Net Proceeds by such Borrower or such Subsidiary,
               apply an amount equal to 100% of such Net Proceeds to
               prepay outstanding Term Loans.85


81 Tr.5 24:10–12.
82 Tr.5 24:13–15.
83 Super-Priority Credit Agreement, § 2.11, Joint Exhibit 1, ECF No. 250-1.
84 Super-Priority Credit Agreement, § 2.11(a)(i), Joint Exhibit 1, ECF No. 250-1.
85 Super-Priority Credit Agreement, § 2.11(b)(iii), Joint Exhibit 1, ECF No. 250-1.


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        Section 2.11(b)(vi) further provides that, as to mandatory prepayments:
                [a]ll accepted prepayments under this Section 2.11(b) shall
                be applied against the remaining scheduled installments of
                principal due in respect of the Initial Term Loans to the
                remaining scheduled amortization payments in respect of
                the Term Loans in direct order of maturity, and each such
                prepayment shall be paid to the Lenders in accordance
                with their respective Applicable Percentage.86
       The language “in accordance with their respective Applicable Percentage”
means that within a class, if the Net Proceeds87 are insufficient for the prepayment
to pay out the class, the prepayment is distributed according to the Lenders’
relative holdings within that class.88 Invesco argues that the prepayment
constituted a breach because the prepayment had to be pro rata across all tranches
based on its reading of Section 2.11(b)(vi).89 Such a reading is inconsistent with the
plain language of this Section and eviscerates the function of holding First-Out
Term Loan debt. The plain language of the mandatory prepayment provisions in
Section 2.11(b) does not justify upsetting that construction, and the language must
be read in the context of the SPCA.
      Because Robertshaw failed to pay 100% of the Net Proceeds as a mandatory
prepayment, it breached Section 2.11(b)(iii) of the SPCA only by not paying all the
proceeds.
III.    Invesco is Not Entitled to a Restored Required Lender Status.
       Invesco wants to be restored to Required Lender status because of
Robertshaw’s breach. The SPCA does not mandate that result, and the Court
declines to diverge from the precise terms of the agreement. The mandatory
payment provisions are how the SPCA specifically deals with unauthorized
incurrence of Indebtedness. Had the prepayment been made in full, the result
would still be that Invesco was no longer Required Lender. There is no need to look
for remedies outside the four corners of the SPCA. Under New York law and the
plain terms of the SPCA, Invesco’s remedy for any loss is direct (money) damages,
not any of the number of equitable remedies Invesco argues for: rescinding


86 Super-Priority Credit Agreement, § 2.11(b)(vi), Joint Exhibit 1, ECF No. 250-1.
87 Net Proceeds means “with respect to any issuance or incurrence of Indebtedness, the Cash

proceeds thereof, net of” things like taxes and attorneys’ fees. Super-Priority Credit Agreement,
§ 1.01 “Net Proceeds”, Joint Exhibit 1, ECF No. 250-1.
88 Super-Priority Credit Agreement, § 1.01 “Applicable Percentage,” Joint Exhibit 1, ECF No. 250-1.
89 The Court also notes that Invesco, despite its assertion that it holds the funds in protest in escrow,

does not have the right to reject prepayment made under Section 2.11(b)(iii). Super-Priority Credit
Agreement, § 2.11(b)(v), Joint Exhibit 1, ECF No. 250-1.

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Amendment No. 5, permitting Invesco to return the prepayment, or rescission.90
New York courts consistently hold “the equitable remedy of rescission is not
available where there is an adequate legal remedy, and [when] plaintiff does not
explain why damages – a legal remedy – would be insufficient.” Empire Outlet
Builders LLC v. Constr. Res. Corp. of New York, 97 N.Y.S.3d 68, 69 (App. Div.
2019); Romanoff v. Romanoff, 51 N.Y.S.3d 36, 40 (App. Div. 2017) (“The remedy of
rescission is unavailable [when] money damages are available and will make
plaintiff whole.”).91
       At trial, Invesco introduced a novel theory of damages to argue the
prepayment mandated by the SPCA is not an adequate remedy: if it were the
Required Lender in December 2023, Robertshaw would have started a bankruptcy
case in January 2024, Invesco would have been selected as a Debtor In Possession
financing lender entitled to fees and senior liens, and Invesco would have been
selected as the stalking horse bidder. All of this is based on pure speculation.
       There is nothing in the record suggesting that Robertshaw’s board was sure
to approve a January 2 filing even if it was a milestone in Amendment No. 4. The
record showed that the independent director, Mr. Goldman, and the company’s
advisors thought it could harm the company.92 A lender cannot force a company to
sign bankruptcy petitions. And, assuming a filing, no one can be certain what would
have happened in a bankruptcy case filed on January 2. All requests for relief are
subject to bankruptcy court approval after the presentation of sufficient evidence to
warrant relief and consideration of applicable law. Invesco presumes, for example,
that it would automatically be the stalking horse, and that no party (either the
Lender Plaintiffs or a third party) would propose better terms for DIP financing.
Detailed demonstratives and financial projections about what recoveries Invesco
may have expected to achieve by acting as DIP Lender and credit bidding the DIP




90 Because the issue of the scrivener’s error and resulting mandatory prepayment is dispositive, it is

not necessary to determine whether to collapse the steps of the December Transactions. Or how
Invesco argues the steps in the December Transactions are a sham, but similar steps in the May
Transactions (which Invesco participated in) are not a sham.
91 The Bankruptcy Code also provides that “after notice and a hearing, the court may—(1) under

principles of equitable subordination, subordinate for purposes of distribution all or part of an
allowed claim to all or part of another allowed claim. . . .” 11 U.S.C. § 510(c). Equitable subordination
is remedial in nature and is “rarely granted.” Official Comm. of Unsecured Creditors v. Cajun Elec.
Power Coop., Inc. (In re Cajun Elec. Power Coop., Inc.), 119 F.3d 349, 357 (5th Cir. 1997). “As a
practical matter, we generally have found equitable subordination in only three typical cases: ‘(1)
when a fiduciary of the debtor misuses his position to the disadvantage of other creditors; (2) when a
third party controls the debtor to the disadvantage of other creditors; and (3) when a third party
actually defrauds other creditors.’” Id. These facts do not warrant even consideration of an equitable
remedy like subordination.
92 Tr.2 19:24–22:20; Plaintiff Exhibit 247, ECF No. 246-47.


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through up to Invesco’s third-out position prove nothing.93 It is all based on
speculation and a perception of total control because of Required Lender status.
       Whatever additional damage Invesco purports to have suffered because of the
avoidance of the January 2 bankruptcy case would also constitute indirect or
consequential damages. And Section 9.04 of the SPCA says the parties, and any
related parties, waive claims against each other based on special, indirect,
consequential, or punitive damages arising out of the SPCA, and any Loan or the
proceeds of it.94
       New York law also does not recognize damages for lost profits that require
“the court to accept too many speculative assumptions.” Wathne Imports, Ltd. v.
PRL USA, Inc., 953 N.Y.S.2d 7, 11 (App. Div. 2012) (citing Ashland Mgt. v. Janien,
82 N.Y.2d 395, 405–06 (N.Y. 1993)). “A party may only recover damages for loss of
future profits if it ‘demonstrate[s] with certainty that such damages have been
caused by the breach . . ., the alleged loss must be capable of proof with reasonable
certainty . . . not [ ] merely speculative, possible or imaginary . . . and the particular
damages [must have been] fairly within the contemplation of the parties.’” Id. at 10
(citing Kenford Co. v. Erie County, 67 N.Y.2d 257, 261 (N.Y. 1986)).
IV.    The Lender Plaintiffs are Entitled to Declaratory Judgment that
       They Did Not Breach the SPCA and Amendment No. 5 is Valid.
       The fact that the prepayment did not fully comply does not mean the Lender
Plaintiffs breached Section 2.11. This Section only obligates Robertshaw to
prepay.95 The SPCA also imposes no obligations on the Lender Plaintiffs under
Sections 6.01(a), 9.02,96 or 7(g) relevant here—which are other Sections that Invesco
alleges the Lender Plaintiffs breached. The Lender Plaintiffs are entitled to a
declaration that they did not breach the SPCA. Declaratory judgment here is
supported by bedrock New York contract law. See, e.g., Kranze v. Cinecolor Corp., 96

93 Tr.5 9:1–11:17, 26:17–27:13; Joint Exhibit 24, ECF No. 250-28; Invesco Demonstratives 1-3, ECF

No. 306.
94 Super-Priority Credit Agreement, § 9.04, Joint Exhibit 1, ECF No. 250-1. “Loan” means any Term

Loan under the SPCA.
95 Super-Priority Credit Agreement at Article 6 Preamble, Joint Exhibit 1, ECF No. 250-1.
96 Section 9.02(b)(A)(9) is the “Incora Blocker” (named for another bankruptcy case pending in this

District) or “vote rigging protection” (as the parties referred to it from time to time). It prevents
Borrowers and Required Lenders from amending the SPCA to “authorize additional Indebtedness
that would be issued under the Loan Documents for the purpose of influencing voting threshold.”96 It
does not prevent incurring Indebtedness from another source, which instead triggers the mandatory
prepayment mechanism in Section 2.11. Amendment No. 5 did not influence the voting threshold;
the prepayment did. The prepayment remedy explicitly provided under Section 2.11 does not violate
the “sacred right” in Section 9.02(b)(A)(9). Moreover, as stated herein, the purpose of the December
Transactions was to increase the company’s liquidity and prevent what the company and its advisors
viewed as a value-destroying bankruptcy filing at a time when the company was trying to implement
a turnaround plan. See, e.g., Tr.4 194:21–195:2, 207:8–13.

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F. Supp. 728, 729 (S.D.N.Y. 1951) (Even in a multi-party contract, “each party is
bound only for the performance he promised.”).
       There is no language in the SPCA to support Invesco’s stance that because
the prepayment was not properly applied under Section 2.11, the new Required
Lenders were barred from entering Amendment No. 5. There is language in other
sections of the SPCA declaring that certain actions taken in contravention of the
terms of the contract will be “null and void,” but no such provision applies to the
mandatory prepayment provision or Section 6.01.97 There is also “default blocker”
language in other parts of the SPCA that prevent parties from taking certain
actions after an Event of Default, which is absent in Section 2.11.98 Nulling and
voiding the December Transactions is not a remedy provided by the SPCA or under
New York Law.
       Invesco alternatively argues that Amendment No. 4 placed a blanket
restriction on the incurrence of Indebtedness. It says, “[a]fter the Amendment No. 4
Effective Date, (i) neither the Company nor any other Loan Party shall create,
issue, incur, assume or permit to exist any Indebtedness for borrowed money.” The
plain language of the Amendment does not restrict Subsidiaries as the SPCA does.
RS Funding is not a Loan Party. It is also not a Lender Plaintiff. Thus, the Lender
Plaintiffs did not breach this covenant of Amendment No. 4.
       Invesco next argues that the Lender Plaintiffs failed to meet the conditions
precedent (delivery of a funds flow statement, receipt of consents, etc.) in
Amendment No. 5, which it argues means the Amendment was never effective. The
prefatory language of Section 7 states that the “Amendment shall be effective upon
the date . . . on which the following conditions shall have been satisfied (or waived
by the Consenting Lenders).”99 Section 9.02 of the SPCA provides that “no such
agreement shall amend, modify or otherwise affect the rights or duties of the
Administrative Agent hereunder or under any other Loan Document without the
prior written consent of the Administrative Agent.”100
      The evidence shows that the Administrative Agent did consent to the
transaction and recognized the Lender Plaintiffs as Required Lenders.101 The
Administrative Agent also dispelled Invesco’s claim that it “resigned in protest”
because it thought the amendment was somehow unlawful.102 The Agent made the




97 See, e.g., Super-Priority Credit Agreement, § 9.05, Joint Exhibit 1, ECF No. 250-1.
98 Super-Priority Credit Agreement, § 5.10, Joint Exhibit 1, ECF No. 250-1.
99 Amendment No. 5 To Super-Priority Credit Agreement, §7, Plaintiff Exhibit 5, ECF No. 242-5.
100 Super-Priority Credit Agreement, § 9.02, Joint Exhibit 1, ECF No. 250-1.
101 Tr.4 61:4–62:8.
102 Tr.4 61:4–62:8.


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prepayment and changed the register to reflect the Lender Plaintiffs were the
Required Lenders.103
       Invesco was no longer Required Lender by the time Amendment No. 5 was
entered. If any other SPCA section were potentially breached (including the
restrictions on Indebtedness Invesco added into Amendment No. 4 without
informing other lenders), Amendment No. 5 waived all such defaults, just like prior
Invesco-driven Amendment Nos. 1-4 did.
       Thus, the Lender Plaintiffs are entitled to a declaration that (i) they did not
breach the SPCA, and (ii) Amendment No. 5 is valid and enforceable. Invesco will be
entitled to file a proof of claim for any alleged prepetition money damages. The
Lender Plaintiffs and One Rock remain the Required Lenders.
V.      One Rock Did Not Tortiously Interfere with the SPCA.
       One Rock, through some of its managed funds, indirectly holds a majority
equity interest in Robertshaw.104 Kurt Beyer, a partner at One Rock, serves on
Robertshaw’s board of directors.105 One Rock did not participate in the May
Transactions.106 It is also not a party to the SPCA. One Rock did, however,
participate in the December 2023 Transactions with the other Lender Plaintiffs.107
Invesco alleges One Rock tortiously interfered with the SPCA by colluding and
conspiring with the Lender Plaintiffs and participating in the December
Transactions. One Rock disagrees and seeks a declaration that it did not tortiously
interfere with the SPCA under New York law.
        There are five elements in a tortious interference with contract claim under
New York law: “(1) ‘the existence of a valid contract between the plaintiff and a
third party;’ (2) ‘the defendant’s knowledge of the contract;’ (3) the ‘defendant’s
intentional procurement of the third-party’s breach of the contract without
justification;’ (4) ‘actual breach of the contract;’ and (5) ‘damages resulting
therefrom.’” Kirch v. Liberty Media Corp., 449 F.3d 388, 401–02 (2d Cir. 2006)
(quoting Lama Holding Co. v. Smith Barney Inc., 88 N.Y.2d 413, 424 (N.Y. 1996)).
To prove intentional procurement without justification, a plaintiff must prove
(i) “that the target of a defendant’s conduct was the third party’s contractual
arrangements with the plaintiff” and (ii) “that ‘the defendant’s objective was to
procure such a breach.’” Better HoldCo., Inc. v. Beeline Loans, Inc., 666 F. Supp.3d
328, 399 (S.D.N.Y. 2023) (internal citations omitted). The interference “must be
intentional, not merely negligent or incidental to some other, lawful purpose.” Id. A

103 Plaintiff Exhibit 16, ECF No. 242-20.
104 Beyer Demonstrative I; Tr.3 12:2–15.
105 Beyer Demonstrative I; Tr.3 12:2–15.
106 Tr.3 28:22–25.
107 Tr.3 64:16–18.


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plaintiff must also allege that “the contract would not have been breached ‘but for’
the defendant’s conduct.” See Burrowes v. Combs, 808 N.Y.S.2d 50, 53 (App. Div.
2006).
       In response to a tortious interference claim, a creditor or equity holder may
raise an “economic interest defense—that it acted to protect its own legal or
financial stake in the breaching party’s business . . . .” Abele Tractor & Eqip. Co. v.
Schaeffer, 91 N.Y.S.3d 548, 551 (App. Div. 2018) (quoting White Plains Coat &
Apron Co. v. Cintas Corp., 867 N.E.2d 381, 384 (N.Y. 2007)). The defense is raised
when “defendants were significant stockholders in the breaching party’s business;
where defendant and the breaching party had a parent-subsidiary relationship;
where defendant was the breaching party’s creditor; and where the defendant had a
managerial contract with the breaching party at the time defendant induced the
breach of contract with plaintiff.” White Plains, 867 N.E.2d at 384 (collecting cases).
“[I]mposition of liability in spite of a defense of economic interest requires a showing
of either malice on the one hand, or fraudulent or illegal means on the other.” WMW
Mach. Co. v. Koerber AG, 658 N.Y.S.2d 385, 386 (App. Div. 1997) (citing Foster v
Churchill, 665 N.E.2d 153, 156 (N.Y. 1996)).
       Based on the record, this Court has no doubt that One Rock did not tortiously
interfere with the SPCA. One Rock did not intentionally procure any breach of the
SPCA, and One Rock was not the but for cause of any such breach by Robertshaw or
the Lender Plaintiffs—and that does not even account for the economic interest
defense.
      Mr. Beyer testified that One Rock’s goal was to help Robertshaw finance its
turnaround plan by providing it necessary liquidity and avoiding the harm caused
by a January 2, 2024 bankruptcy filing.108 One Rock did not structure the December
Transactions or influence the Lender Plaintiffs or Robertshaw to do it.109 It also did
not vote on the December Transactions.110
       Invesco’s arguments that One Rock conspired or colluded with the Lender
Plaintiffs fail to establish but for causation, necessary to establish tortious
interference with a contract. See, e.g., Granite Partners, L.P. v. Bear, Sterns & Co.,
17 F. Supp. 2d 275, 294 (S.D.N.Y. 1998) (“[C]ollusion involving a party to the
contract indicates as a matter of law that the party involved was predisposed to
breach its contractual obligations; thus, the allegedly interfering party cannot be
the ‘but for’ cause of the breach.”); Sharma v. Skaarup Ship Mgmt. Corp., 699 F.
Supp. 440, 447 (S.D.N.Y. 1988), aff’d, 916 F.2d 820 (2d Cir. 1990) (dismissing
tortious interference with contract claim based on allegation that “by conspiring and


108 Tr.3 66:20–25, 75:4–21.
109 Tr.3 58:13–16, 69:11–13.
110 Tr.3 72:13–19.


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acting with” a party to the contract and “in no way . . . allege[d] that defendants
were the motivating force behind [the party’s] breach”). Robertshaw’s actions were
informed by its advisors and its independent director.111 The Lender Plaintiffs also
independently decided to enter into the December Transactions.112 Lenders had
their own reasons for entering into the December Transactions, including concerns
from Robertshaw management that Invesco intended to uptier its Third-Out debt
and their belief that it would prevent an unnecessary bankruptcy filing.113
        Declaratory judgment is warranted for these reasons alone. But even if a
prima facie showing of tortious interference could be established by Invesco, the
economic interest defense would overcome any such claim. One Rock supported
Robertshaw’s turnaround plan and efforts to increase liquidity and believed a
January 2024 filing would harm Robertshaw.114 Mr. Beyer’s testimony was
supported by the facts in the record. One Rock had a right under New York law to
protect its economic interest in Robertshaw by entering into the December
Transactions and not allowing what it believed to be a value-destructive bankruptcy
filing. That Robertshaw ended up filing bankruptcy (in part because additional
liquidity Robertshaw received is tied up in litigation with Invesco) or that parties
understood Robertshaw could potentially file does not change the answer. There is
no meaningful evidence that One Rock acted for any reason other than to protect its
economic interest, and there is no evidence of malice or fraudulent or illegal means
that would overcome the defense.
        Declaratory relief for One Rock is granted.
VI.     Robertshaw and the Lender Plaintiffs Did Not Breach the Duty of
        Good Faith and Fair Dealing.
     Robertshaw and the Lender Plaintiffs seek a declaratory judgment that the
December Transactions did not breach the duty of good faith and fair dealing under
New York law.
      New York law implies a duty of good faith and fair dealing in every contract.
The duty comprises “any promises which a reasonable person in the position of the
promisee would be justified in understanding were included [in the contract].”
Dalton v. Educ. Testing. Serv., 663 N.E.2d 289, 291 (N.Y. 1995). The implied
covenant prevents parties from “do[ing] anything which will have the effect of
destroying or injuring the right of the other party to receive the fruits of the
contract.” Brown v. Erie Ins., 172 N.Y.S.3d 299, 301 (App. Div. 2022). “Absent a
connection to an express or presumed contractual right or obligation, the doctrine

111 Tr.3 55:25–56:8, 59:4–11, 62:6–11, 64:19–25.
112 See, e.g., Tr.4 188:4–207:13.
113 See, e.g., Tr.2 173:8–180:6, 189:8–191:4; Tr.3 72:5–12; Tr.4 188:4–207:13.
114 Tr.3 66:20–67:3, 75:4–21.


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‘does not import a generalized code of good conduct into the law of contracts.’”
Cambridge Cap. LLC v. Ruby Has LLC, 565 F. Supp. 3d 420, 456 (S.D.N.Y. 2021)
(quoting Scottsdale Ins. v. McGrath, 549 F. Supp. 3d 334, 353 n.6 (S.D.N.Y. 2021)).
It also cannot be used to create new and independent contractual rights. Fesseha v.
TD Waterhouse Inv. Servs., Inc., 761 N.Y.S.2d 22, 23 (App. Div. 2003).
      Declaratory relief for the Lender Plaintiffs is warranted. First, as noted
above, there is nothing in the SPCA specifically imposing duties between lender
parties based on payment of debts or incurring new debt. Second, Invesco,
Robertshaw, and the Lender Plaintiffs established a baseline of conduct between
themselves by engaging in liability management transactions. They conducted the
May 2023 Transaction as a unified group and defended that uptier in a resulting
dispute with non-participating lenders. The SPCA itself is full of blockers and
clauses named for other liability management cases.
        Invesco engaged in acts it now calls bad faith. It engaged in lender-on-lender
acts through Amendment Nos. 1-4. This involved instructing the Agent not to post
Amendments and planning an Invesco controlled bankruptcy filing right after New
Year’s Day—all without informing other lenders. Invesco also contemplated a
liability management transaction of its own in Amendment No. 2. Upon discovering
Invesco’s actions, Robertshaw’s board and the Lender Plaintiffs agreed to the
December Transactions as an alternative route. Robertshaw’s advisors and the
Lender Plaintiffs testified that they believed the December Transactions would help
the company achieve its turnaround plan, infuse $40 million in the company, and
prevent what they reasonably perceived to be a financially harmful January 2024
bankruptcy filing.115 Based on the record before the Court, no one may claim a
breach of the implied duty of good faith and fair dealing.116




115 See, e.g., Tr.4 207:11–13; Tr.2 178:4–15.
116 The facts and actions of the lenders in this case are distinguishable from other New York law

cases. See, e.g., In re LightSquared Inc., 511 B.R. 253, 333–34 (Bankr. S.D.N.Y. 2014) (breaching
party wore multiple hats in an effort to disguise or insulate a company from responsibility and
achieve an end-run around the substance of restrictions in a credit agreement); Empresas
Cablevision, S.A.B. de C.V. v. JPMorgan Chase Bank, N.A., 680 F. Supp.2d 625, 631 (S.D.N.Y. 2010)
(cited in LightSquared and based on similar reasoning); Medacist Sols Grp., LLV v. CareFusion
Sols., LLC, No. 19-CV-1309, 2021 WL 293568, *12 (S.D.N.Y. Jan. 28, 2021) (breaching party
purposefully delayed sales so it could terminate a contract and then sell its own product).

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                                     ORDER
      For the reasons stated above, the Court declares that:
1.    Bain Capital, Eaton Vance, Canyon Capital, and One Rock are the Required
      Lenders under the SPCA;
2.    Bain Capital, Eaton Vance, and Canyon Capital did not breach the SPCA;
3.    Robertshaw, Bain Capital, Eaton Vance, and Canyon Capital did not breach
      any implied duty of good faith and fair dealing under New York law with
      respect to any matters relating to the December Transactions; and
4.    One Rock did not tortiously interfere with the SPCA under New York law;
      and
      It is further ORDERED that Invesco may file a proof of claim on or before
July 18, 2024 for any alleged monetary damages arising from Robertshaw’s
prepetition breach of the SPCA; and it is further
      ORDERED that the Court retains jurisdiction to interpret and enforce this
Order.




         August
         June     02, 2019
              20, 2024




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